AO 245D (Rev. 09/19) Judgment in a Criminal Case for Revocations
                       Sheet 1



                                      UNITED STATES DISTRICT COURT
                                                       Middle District of Tennessee

            UNITED STATES OF AMERICA                                 JUDGMENT IN A CRIMINAL CASE
                                 V.                                  (For Revocation of Probation or Supervised Release)

                    ERIC TODD BLAINE
                                                                     Case No. 3:15-cr-00024
                                                                     USM No. 17568-075
                                                                      Ben Russ
                                                                                              Defendant's Attorney
THE DEFENDANT:
E5 admitted guilt to violation of condition(s)          1                             of the term of supervision.
❑ was found in violation of condition(s) count(s)                               after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                              Violation Ended
1                                Commission of another federal, state or local crime                          08/15/2019




       The defendant is sentenced as provided in pages 2 through         3      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
56 The defendant has not violated condition(s) 2 and 3                   and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all foes, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec, No.: 9912                                               09/24/2020
                                                                                         Date of Imposit ion of Judgment
Defendant's Year of Birth:            1974                                                               ti                (~

City and State of Defendant's Residence:                                                        Signature of Judge
Clarksville, TN
                                                                              Eli Richardson, United States District Judge
                                                                                              Name and Title of Judge

                                                                                        e p+c~mbe4 - c27J 2D 20
                                                                                                         Date




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AO 245D (Rev. 09/19) Judgment in a Criminal Case for Revocations
                       Sheet 2— Imprisonment
                                                                                                 Judgment — Page   2    of   3
DEFENDANT: ERIC TODD BLAINE
CASE NUMBER: 3:15-cr-00024


                                                          IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of :
12 months to run consecutive to defendant's state sentence in criminal case, CC19-CR-919, Criminal Court for
Montgomery County, TN (defendant is to self-report to serve his state sentence on November 6, 2020)



     ❑ The court makes the following recommendations to the Bureau of Prisons:




     ❑ The defendant is remanded to the custody of the United States Marshal.

     ❑ The defendant shall surrender to the United States Marshal for this district:
         ❑    at                                ❑ a.m.        ❑ p.m. on
         ❑    as notified by the United States Marshal.

     5d The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         ❑    before 2 p.m, on
         ❑    as notified by the United States Marshal.
         W    as notified by the Probation or Pretrial Services Office,

                                                                   RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                       to

at                                                 with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL


                                                                       By
                                                                                           DEPUTY UNITED STATES MARSHAL




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AO 245D (Rev. 09119) Judgment in a Criminal Case for Revocations
                       Sheet 3 — Supervised Release
                                                                                    Judgment—Page   3   of   3
DEFENDANT: ERIC TODD BLAINE
CASE NUMBER: 3:15-cr-00024
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
 2 years, with the same Mandatory Conditions, Special Conditions, and Standard Conditions as ordered previously




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